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                 Exhibit 6
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                                                                            Page 1
 1                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
 2
 3   IN RE:                                   )
                                              )   CA No. 01-12257-PBS
 4   PHARMACEUTICAL INDUSTRY AVERAGE          )
     WHOLESALE PRICE LITIGATION               )   Pages 1-88
 5                                            )
 6
 7
 8
                               SETTLEMENT HEARING
 9
                    BEFORE THE HONORABLE PATTI B. SARIS
10                       UNITED STATES DISTRICT JUDGE
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13
14
                                         United States District Court
15                                       1 Courthouse Way, Courtroom 19
                                         Boston, Massachusetts
16                                       April 27, 2009, 2:15 p.m.
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19
20
21
22                               LEE A. MARZILLI
                           OFFICIAL COURT REPORTER
23                       United States District Court
                         1 Courthouse Way, Room 3205
24                             Boston, MA     02210
                                 (617)345-6787
25
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                                                                  Page 70                                                            Page 72
1            THE COURT: We've always allowed that. You just                  1   it's --
2    needed to have some. But you're right that we've said, at               2           THE COURT: So you're saying, so I get the legal
3    least in a litigation context, I needed a class rep per                 3   argument, and I need to get to Mr. Berman, the legal
4    defendant. But the question is, this is settlement, and so              4   argument is, regardless of what I say, the associations
5    their argument is whether it should be different.                       5   under that Second Circuit case do not have standing, and
6            MR. HAVILAND: I don't know if Amchem allows us to               6   Tonacchio only does with respect to one defendant, and
7    do a shortcut like that because you know the problem, Judge?            7   therefore that isn't enough at best?
8    Now is the last time we look at it, whereas in litigation               8           MR. HAVILAND: If you find that she in fact made a
9    you have the chance to fix it.                                          9   payment or had an amount due and owing.
10           THE COURT: What about the argument that, you                   10           THE COURT: And, in any event, you would say it's
11   know, as a practical matter, these associations are actually           11   not a fair and reasonable amount?
12   more proactive than an individual whose mother took an                 12           MR. HAVILAND: Because if you look at the reality
13   injection would be. So assuming they only have standing for            13   of what's been happening in these cases --
14   a limited purpose, not for damages but for injunction or               14           THE COURT: With the Attorney Generals as a
15   declaratory relief when I originally put them in, won't they           15   comparison.
16   be proactive for consumers?                                            16           MR. HAVILAND: Correct, your Honor.
17           MR. HAVILAND: Well, one would hope so, but the                 17           THE COURT: Okay, thank you, I understand.
18   problem we have with Prescription Action Litigation, it was            18           MR. HAVILAND: The last point, if I may, because
19   a group that was in part founded by the lawyers in this                19   Mr. Berman made the point that we were somehow saying
20   room. The mission statement that we put before the Court               20   something false about what's in this case. Mr. Monk and
21   demonstrates that one of their five missions in life is to             21   Mr. Thomson, my clients, were added to the complaint in
22   get cy pres. Now, your Honor made the comment earlier                  22   2005. Mr. Monk bought Eligard, and Mr. Thomson bought
23   there's not cy pres in this case, but think about this case            23   Trelstar. Now, your Honor ruled in response to defendants'
24   in totality. In AstraZeneca, there was a set-aside for                 24   motions that they were out; those drugs were not in the
25   cy pres, a guarantee. One of the objections, frankly, the              25   case, they were new drugs newly added, and they were


                                                                  Page 71                                                            Page 73
 1   principal objection --                                                  1   dismissed. My clients were then sent packing. Now they're
 2           THE COURT: I think I rejected it.                               2   back in. So if you look at the record, you're going to see
 3           MR. HAVILAND: Well, no, you didn't, your Honor.                 3   those drugs in there under the second B.
 4   You scaled it back, and we appreciated that.                            4            THE COURT: But not for consumers, just for TPPs.
 5           THE COURT: Dramatically, dramatically.                          5            MR. HAVILAND: No, they're in there for consumers,
 6           MR. HAVILAND: We appreciated that. Mrs. Howe saw                6   your Honor, and there's a full release happening. And our
 7   that, my client, as an impediment to her getting her full               7   problem is, Aventis doesn't look like that it paid any money
 8   due under the settlement. But there's still that built-in               8   for Eligard because it's in Class B. Aventis, according to
 9   set-aside which is buttressing that settlement from getting             9   the record that I see, says they paid it in Class A. They
10   what we're getting here. Today, your Honor, I hear, if                 10   paid nothing on Eligard. Why is that important? If you
11   there's money left over, we'll give it back to the                     11   look under the tab, your Honor, you're going to see that's
12   consumers. Let's do that in AstraZeneca. Let's not have a              12   Lupron. Eligard and Trelstar are Lupron.
13   set-aside for cy pres.                                                 13            THE COURT: Okay, now you're losing me again. I
14           THE COURT: I'm not talking about AstraZeneca.                  14   missed this point in all the filings, so --
15           MR. HAVILAND: I understand, but that's the                     15            MR. HAVILAND: Well, they're brand drugs, number
16   problem I have with PAL. You asked the question, why                   16   one, so they don't belong below that line in the Class B
17   shouldn't PAL be a good proxy? Well, in that case, your                17   drugs. Aventis makes Eligard, and they're above the line in
18   Honor, the record that you have before you shows the                   18   Class A. But they haven't paid any money for that drug.
19   set-aside was for PAL. That's what it says in the e-mails              19   It's just kind of lumped in there. And Mr. Monk says to
20   that were filed of record with you. So that's a conflict,              20   himself, "Why is that? I was told years ago by the Court
21   your Honor. The problem is, when lawyers --                            21   that there's no drug that I can represent a class for." So
22           THE COURT: Aren't there like six other consumer                22   he's kicked out. Then it comes back in the settlement. The
23   associations?                                                          23   same thing with Trelstar.
24           MR. HAVILAND: They're all PAL members. Our                     24            THE COURT: Does he want to come back as a class
25   papers demonstrate they're all PAL. I mean, in essence                 25   rep?


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